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                        IN THE UNITED STATES DISTRICT COURT

                               FOR THE DISTRICT OF DELAWARE

                                                )
FINJAN LLC,                                     )
                                                )
                  Plaintiff,
                                                )
       v.                                       )   C.A. No. 20-371-LPS
                                                )
TRUSTWAVE HOLDINGS, INC., and                   )
SINGAPORE TELECOMMUNICATIONS                    )
LIMITED,                                        )
                                                )
                  Defendants.

                               STIPULATION TO EXTEND TIME

       WHEREAS, on May 13, 2021, the Court ordered the parties to “meet and confer and

submit a proposed case schedule for this action by June 4, 2021 with respect to Finjan’s and

Trustwave’s claims and defenses.” (D.I. 68 at ¶ 10); and

       WHEREAS, the parties are continuing to exchange scheduling proposals and believe that

an extension of the June 4 deadline may permit them to reach agreement or narrow their

disputes:

       NOW, THEREFORE, the parties hereby STIPULATE and AGREE, subject to the

approval of the Court, that the deadline to submit a case schedule with respect to Finjan’s and

Trustwave’s claims and defenses is extended until June 9, 2021.




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/s/ Jeff Castellano ______________            /s/ Alexandra M. Cumings ______________
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Dated: June 4, 2021



SO ORDERED this ____ day of June, 2021.


                                              _________________________________
                                                  United States District Judge




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